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         Individual appearing without an attorney
         Attorney for: Movant(s)

                                             UNITED STATES BANKRUPTCY COURT
                                    CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION

    In re:                                                                      CASE NO.:      2:19-bk-24804-VZ

    YUETING JIA,1
                                                                                CHAPTER: 11

                                                                                NOTICE OF LODGMENT OF ORDER IN
                                                                                BANKRUPTCY CASE RE:
                                                                            DEBTOR’S NOTICE OF MOTION AND MOTION
                                                                            FOR ORDER (I) CONFIRMING THIRD AMENDED
                                                                            PLAN OF REORGANIZATION UNDER
                                                                  Debtor(s)
                                                                            CHAPTER 11 OF THE BANKRUPTCY CODE; AND
                                                                            (II) APPROVING SETTLEMENT PURSUANT TO
                                                                            BANKRUPTCY RULE 9019; REQUEST FOR
                                                                            DISCHARGE ON THE EFFECTIVE DATE

                                                                                [Relates to Docket No 657]

PLEASE TAKE NOTE that the order titled ORDER CONFIRMING THIRD AMENDED CHAPTER 11 PLAN OF REORGANIZATION
FOR YUETING JIA (DATED MARCH 26, 2020) AS MODIFIED was lodged on (date) May 28, 2020 and is attached. This order
relates to the Motion which is docket number 657.

As required by the Order After Plan Confirmation Hearing [Docket No. 785], (a) pursuant to LBR 9021-1(b)(3)(B), the proposed
order will be held by the court for 7 days; (b) the criteria for the Debtor to obtain a discharge are modified from the criteria set forth in
the court’s tentative ruling; (c) the proposed order contains references to Plan Modifications referred to in the relevant filing (docket
entry #780) and in the Findings and Conclusions; (d) the deadline for a party to file any objection to the Plan Modifications is 4:00
p.m. PST on the 7th day after filing of the notice of lodgment. There is no requirement to lodge an alternate proposed order; and (e)
proof of service of any objection must indicate service on counsel for the Debtor, counsel for the Official Committee of Unsecured
Creditors, the U.S. trustee, and a judge’s copy.


1
 The last four digits of the Debtor’s federal tax identification number are 8972. The Debtor’s mailing address is 91 Marguerite Drive,
Rancho Palos Verdes, CA 90275.
             This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
December 2012                                                         Page 1                        F 9021-1.2.BK.NOTICE.LODGMENT
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                             EXHIBIT A
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13   [Proposed] Special Corporate, Litigation, and International
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14
                                    UNITED STATES BANKRUPTCY COURT
15                                   CENTRAL DISTRICT OF CALIFORNIA
16                                        LOS ANGELES DIVISION

17                                                                        Case No.: 2:19-bk-24804-VZ
     In re:
18   YUETING JIA1,                                                        Chapter 11

19                                                                        ORDER CONFIRMING THIRD
                               Debtor.                                    AMENDED CHAPTER 11 PLAN OF
20                                                                        REORGANIZATION FOR YUETING
                                                                          JIA (DATED MARCH 26, 2020) AS
21                                                                        MODIFIED

22                                                                        Confirmation Hearing
                                                                          Date: May 21, 2020
23                                                                        Time: 9:30 a.m. (Pacific Time)
                                                                          Place: Courtroom 1368
24                                                                               Roybal Federal Building
                                                                                 255 E. Temple Street
25                                                                               Los Angeles, California 90012
                                                                          Judge: Hon. Vincent P. Zurzolo
26

27
     1
      The last four digits of the Debtor’s federal tax identification number are 8972. The Debtor’s mailing address is 91
28   Marguerite Drive, Rancho Palos Verdes, CA 90275.
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 1              Debtor and debtor in possession, Yueting Jia (the “Debtor”), having filed and proposed the

 2   Third Amended Chapter 11 Plan of Reorganization Under Chapter 11 of the Bankruptcy Code

 3   [Docket No. 464] on March 17, 2020 (the “Third Amended Plan”) and having filed the Notice of

 4   Filing of Non-Adverse Modifications to Debtor’s Third Amended Plan of Reorganization [Docket

 5   No. 780] on May 20, 2020 (the “Plan Modifications”) (the Third Amended Plan, as modified by the

 6   Plan Modifications and by the Post-Confirmation Hearing Order, the “Plan”);2

 7              The Court, having entered on March 20, 2020 its Order (I) Granting Motion to Approve

 8   Adequacy of Fourth Amended Disclosure Statement, (II) Approving Voting and Tabulation

 9   Procedures, (III) Setting Confirmation Hearing and Related Deadlines, (IV) Waiving Certain Local

10   Rules and Procedures, (V) Vacating Order to Show Cause and (VI) Granting Related Relief

11   [Docket No. 485] (the “Disclosure Statement Order”), pursuant to which the Court (a) approved the

12   Fourth Amended Disclosure Statement with Respect to Debtor’s Third Amended Plan of

13   Reorganization Under Chapter 11 of the Bankruptcy Code [Docket No. 465] (the “Disclosure

14   Statement”) filed in support of the Plan; (b) established notice, balloting, and voting procedures in

15   connection with soliciting votes on the Plan; (c) fixed objection deadlines to Confirmation of the

16   Plan; and (d) scheduled a hearing to consider Confirmation of the Plan;

17              Upon the submission of the Declaration of Stephenie Kjontvedt of Epiq Corporate

18   Restructuring, LLC, Re: Voting and Tabulation of Ballots Cast on the Debtor’s Third Amended Plan

19   of Reorganization Under Chapter 11 of the Bankruptcy Code, including the tabulation of the ballots

20   cast in favor of and in opposition to the Plan [Docket No. 711]; Declaration of Malhar S. Pagay

21   Regarding Voting and Tabulation of Ballots Cast on the Debtor’s Third Amended Plan of

22   Reorganization Under Chapter 11 of the Bankruptcy Code (Dated May 7, 2020) [Docket No. 712];

23   Debtor’s Omnibus Reply to: (1) Han’s San Jose Hospitality LLC’s Objection to Confirmation of

24   Chapter 11 Plan [Docket No. 714]; (2) Objection of Zhejiang Zhongtai Chuangzhan Enterprise

25   Management Co., Ltd. to Confirmation of Debtor’s Third Amended Plan of Reorganization [Docket

26   No. 716]; (3) Objection of Liuhuan Shan to Debtor’s Third Amended Plan of Reorganization Under

27
     2
28       Capitalized terms not otherwise defined herein shall have the same meanings as set forth in the Plan.

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 1   Chapter 11 of the Bankruptcy Code [Docket No. 719]; (4) Shanghai Lan Cai Asset Management

 2   Co., Ltd.’s Objection to Debtor’s Motion for Confirmation of the Third Amended Plan of

 3   Reorganization Under Chapter 11 Of The Bankruptcy Code [Docket No. 723]; and (5) United States

 4   Trustee’s Objection To Debtor’s Motion For Confirmation [Docket No. 735] [Docket No. 756] (the

 5   “Reply”); and the declarations of Yueting Jia [Docket No. 757], Richard M. Pachulski [Docket No.

 6   758], Adrian Francis [Docket No. 759], and Terry Treemarcki [Docket No. 760], filed concurrently

 7   with the Reply;

 8          The Debtor having filed on April 25, 2020 the Notice of Filing of Plan Supplement to the

 9   Debtor’s Third Amended Plan of Reorganization Under Chapter 11 of the Bankruptcy Code

10   appending certain documents (or forms thereof), schedules, and exhibits [Docket No. 678] (the “Plan

11   Supplement”);

12          The Debtor having filed on May 11, 2020 the Notice of Filing of Cure Schedule appending a

13   cure schedule setting forth the Cure Amount, if any, for each executory contract and unexpired lease

14   to be assumed [Docket No. 736] (the “Cure Schedule”);

15          A hearing to consider confirmation of the Plan and matters related thereto having been held

16   before this Court on May 21, 2020 (the “Confirmation Hearing”); Richard M. Pachulski of Pachulski

17   Stang Ziehl & Jones LLP, appearing on behalf of the Debtor; other appearances having been noted

18   on the record;

19          The Court, having entered on May 21, 2020, its Findings of Fact and Conclusions of Law

20   Regarding Motion to Confirm Debtor’s 3rd Amended Plan of Reorganization [Docket No. 784] and

21   Order after Plan Confirmation Hearing [Docket No. 785] (the “Post-Confirmation Hearing Order”);

22          And the Court having considered the following:

23          (a)       the Plan;

24          (b)       the Disclosure Statement and the Disclosure Statement Order;

25          (c)       the Voting Summary;

26          (d)       the Debtor’s Memorandum of Points and Authorities in Support of Debtor’s

27   Confirmation of Third Amended Chapter 11 Plan of Reorganization Under Chapter 11 of the

28   Bankruptcy Code (Dated April 23, 2020) [Docket No. 657] (the “Confirmation Motion”);

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 1          (e)    the Declaration of Yueting Jia in Support of Motion for Order (I) Confirming Third

 2   Amended Plan of Reorganization Under Chapter 11 of the Bankruptcy Code; and (II) Approving

 3   Settlement Pursuant to Bankruptcy Rule 9019; Request for Discharge on the Effective Date (Dated

 4   April 23, 2020) [Docket No. 658];

 5          (f)    the Declaration of Matthias Aydt in Support of Motion for Order (I) Confirming

 6   Third Amended Plan of Reorganization Under Chapter 11 of the Bankruptcy Code; and (II)

 7   Approving Settlement Pursuant to Bankruptcy Rule 9019; Request for Discharge on the Effective

 8   Date (Dated April 23, 2020) [Docket No. 659];

 9          (g)    the Declaration of Charles Hsieh in Support of Motion for Order (I) Confirming

10   Third Amended Plan of Reorganization Under Chapter 11 of the Bankruptcy Code; and

11   (II) Approving Settlement Pursuant to Bankruptcy Rule 9019; Request for Discharge on the Effective

12   Date (Dated April 23, 2020) [Docket No. 661];

13          (h)    the Declaration of Robert Moon in Support of Motion for Order (I) Confirming Third

14   Amended Plan of Reorganization Under Chapter 11 of the Bankruptcy Code; and (II) Approving

15   Settlement Pursuant to Bankruptcy Rule 9019; Request for Discharge on the Effective Date (Dated

16   April 23, 2020) [Docket No. 662];

17          (i)    Han’s San Jose Hospitality LLC’s Objection to Confirmation of Chapter 11 Plan

18   [Docket No. 714] (the “Han’s Objection”);

19          (j)    Objection of Zhejiang Zhongtai Chuangzhan Enterprise Management Co., Ltd. to

20   Confirmation of Debtor’s Third Amended Plan of Reorganization [Docket No. 716] (the “ZZC

21   Management Objection”);

22          (k)    Objection of Liuhuan Shan to Debtor’s Third Amended Plan of Reorganization Under

23   Chapter 11 of the Bankruptcy Code [Docket No. 719] (the “Shan Objection”);

24          (l)    Shanghai Lan Cai Asset Management Co., Ltd.’s Objection to Debtor’s Motion for

25   Confirmation of the Third Amended Plan of Reorganization Under Chapter 11 of the Bankruptcy

26   Code [Docket No. 723] (the “SLC Objection”);

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 1          (m)     United States Trustee’s Objection to Debtor’s Motion for Confirmation [Docket No.

 2   735] (the “UST Objection” and, collectively, with the Han’s Objection, ZZC Management

 3   Objection, Shan Objection and SLC Objection, the “Confirmation Motion Objections”);

 4          (n)     Notice of Withdrawal and Withdrawal of Objection of Liuhuan Shan to Debtor’s

 5   Third Amended Plan of Reorganization [Docket No. 778];

 6          (o)     The record compiled in the Chapter 11 Case and all pleadings filed with respect

 7   thereto; and

 8          (p)     The offers of proof, evidence admitted, and the arguments and representations of

 9   counsel at the Confirmation Hearing;

10          And based upon any additional findings made at the Confirmation Hearing and after due

11   deliberation and good cause appearing,

12          IT IS HEREBY ORDERED that:

13          A.      Grant of Relief Sought in Confirmation Motion

14          The relief sought in the Confirmation Motion is granted.

15          B.      Confirmation of the Plan and Approval of Plan Modifications

16          The Plan, along with each of its provisions (whether or not specifically approved herein) and

17   all operative exhibits and schedules thereto, is confirmed in each and every respect pursuant to

18   section 1129 of the Bankruptcy Code.

19          The Plan Modifications [Docket No. 780] constitute technical changes or do not materially

20   and adversely affect or change the treatment of any Claims against the Debtor and comply in all

21   respects with section 1127 of the Bankruptcy Code and, consequently, pursuant to Bankruptcy Rule

22   3019, (i) no other or further disclosure with respect to the Plan Modifications is required under

23   section 1125 of the Bankruptcy Code and (ii) neither resolicitation of votes on the Plan nor affording

24   holders of Claims in the voting classes the opportunity to change a previously cast ballot is required

25   under section 1126 of the Bankruptcy Code.        Therefore, the Plan Modifications are approved

26   pursuant to Bankruptcy Code section 1127(a) and Bankruptcy Rule 3019(a).

27          All documents included in the Plan Supplement are integral to, part of, and incorporated by

28   reference into the Plan. The terms of the Plan, the Plan Supplement, and the exhibits and schedules

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 1   thereto are incorporated by reference into this Confirmation Order, and the provisions of the Plan

 2   and this Confirmation Order are non-severable and mutually dependent.               Notwithstanding the

 3   foregoing, if there is any direct conflict between the terms of the Plan and the terms of this

 4   Confirmation Order, the terms of this Confirmation Order shall control. All Confirmation Motion

 5   Objections and other responses to, and statements and comments regarding, the Plan, other than

 6   those withdrawn with prejudice in their entirety prior to, or on the record at, the Confirmation

 7   Hearing are either (i) resolved or sustained on the terms set forth herein or (ii) overruled.

 8          The failure specifically to identify or refer to any particular provision of the Plan or any other

 9   agreement in this Confirmation Order shall not diminish or impair the effectiveness of such

10   provision, it being the intent of the Bankruptcy Court that the Plan and all other agreements

11   approved by this Confirmation Order are approved in their entirety.

12          C.      Binding Nature of Plan Terms

13          Notwithstanding any otherwise applicable law, from and after the entry of this Confirmation

14   Order, the terms of the Plan and this Confirmation Order, including the compromises, releases,

15   waivers, discharges and injunctions described in Articles 6.2, 6.6, 11.3, 11.4, 11.5, 11.6, and 11.9 of

16   the Plan, shall be deemed binding upon (i) the Debtor and, from and after the Effective Date, the

17   Reorganized Debtor, (ii) the Creditor Trust and its Trustee, (iii) any and all holders of Claims

18   (irrespective of whether such Claims are Impaired under the Plan or whether the holders of such

19   Claims accepted, rejected or are presumed to have accepted or deemed to have rejected the Plan),

20   (iv) any and all non-Debtor parties to Executory Contracts and Unexpired Leases with the Debtor,

21   and (v) the respective heirs, executors, administrators, successors or assigns, if any, of any of the

22   foregoing, in each case subject to those limitations as set forth in the Plan.

23          D.      General Settlement of Claims

24          In consideration for the Plan distributions, releases, and other benefits provided under the

25   Plan, upon the Effective Date (or such later date as specified in the Plan), the provisions of the Plan

26   constitute a good faith compromise and settlement of all Claims and controversies relating to any

27   Allowed Claim or any Plan distribution to be made on account thereof or otherwise resolved under

28   the Plan. The entry of this Confirmation Order constitutes the Court’s approval of the compromise

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 1   and settlement of all such Claims and controversies, including the Wei Gan Settlement, as well as a

 2   finding by the Court that such compromise and settlement is fair, equitable, and reasonable and in

 3   the best interests of the Debtor and his Estate. All Plan distributions made in accordance with the

 4   Plan are intended to be, and shall be, final.

 5          E.      Vesting of Assets in the Reorganized Debtor, Impact of Conversion to Chapter 7

 6          On the Effective Date, except as otherwise provided in the Plan, pursuant to sections 1141(b)

 7   and 1141(c) of the Bankruptcy Code, all property of the Estate shall vest in the Reorganized Debtor

 8   free and clear of all Claims, Liens, encumbrances, charges, and other interests. On and after the

 9   Effective Date, (i) the Reorganized Debtor shall be authorized to engage in his existing business or

10   new business and to invest in or acquire assets, and (ii) the Creditor Trust shall be authorized to

11   operate, make Trust distributions, and dispose of Trust Assets, in each case without supervision or

12   approval by the Bankruptcy Court and free from any restrictions of the Bankruptcy Code or the

13   Bankruptcy Rules.

14          Pursuant to LBR 3020-1(b), if the Chapter 11 Case is converted to one under chapter 7 of the

15   Bankruptcy Code, the property of the Reorganized Debtor or of any successor to the Estate under the

16   Plan, that has not been distributed under the Plan shall be vested in the chapter 7 estate, except for

17   property that would have been excluded from the estate if the Chapter 11 Case had always been one

18   under chapter 7.

19          F.      DIP Facility Claims

20          On the Effective Date, in exchange for the full and complete settlement, release, and

21   discharge of the Debtor’s obligations under the DIP Facility: (i) the maturity date of the DIP Facility

22   shall be automatically extended for one year from the Effective Date, (ii) all obligations of the

23   Debtor under the DIP Facility shall be assumed by the Trust, (iii) all Liens and security interests on

24   any Collateral transferred to the Trust in accordance with the Trust Agreement shall remain in place

25   as perfected first priority Liens and survive against the Trust, subject only to the Liens securing the

26   Exit Financing, (iv) the interest rate per annum shall be increased to twelve percent (12% per

27   annum), and (v) all other Liens and security interests shall be satisfied, discharged, and terminated in

28   full and of no further force and effect.

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 1            G.     Approval of the Exit Financing

 2            This Confirmation Order shall constitute authorization for the Reorganized Debtor and the

 3   Trustee on behalf of the Creditor Trust to finalize, execute, deliver, and perform under the Exit

 4   Financing, and those documents necessary or appropriate to consummate the transactions

 5   contemplated by the Exit Financing and obtain the financing contemplated thereby, including all

 6   transactions contemplated thereby, including any and all actions to be taken, undertakings to be

 7   made, and obligations to be incurred, fees and expenses paid, and indemnities to be provided,

 8   without further notice to or order of the Court, act, or action under applicable law, regulation, order,

 9   or rule, or vote, consent, authorization, or approval of any Person. Subject to the occurrence of the

10   Effective Date, the Exit Financing shall constitute the legal, valid, and binding obligations of the

11   Trustee on behalf of the Creditor Trust and shall be enforceable in accordance with its respective

12   terms.

13            The liens contemplated by and related to the Exit Financing and related documents approved

14   and are valid, binding, and enforceable liens on the collateral specified, and with the priorities set

15   forth, in the relevant agreements executed by the Trustee on behalf of the Creditor Trust in

16   connection with the incurrence of the Exit Financing. The pledges, liens, and other security interests

17   granted pursuant to or in connection with the incurrence of the Exit Financing are granted in good

18   faith as an inducement to the lenders and other secured parties thereunder to extend credit thereunder

19   and shall be, and hereby are, deemed not to constitute a fraudulent conveyance or fraudulent transfer,

20   shall not otherwise be subject to avoidance, recharacterization, or subordination, and the priorities of

21   such guarantees, mortgages, pledges, liens, and other security interests shall be as set forth in the

22   applicable intercreditor agreement(s) and other definitive documentation executed in connection

23   with the incurrence of the Exit Financing.

24            The Trustee on behalf of the Creditor Trust and the secured parties (and their designees and

25   agents) under the Exit Financing are authorized to make all filings and recordings, and to obtain all

26   governmental approvals and consents necessary to evidence, establish, and perfect such liens and

27   security interests in connection with the Exit Financing under the provisions of the applicable state,

28   provincial, federal, or other law (whether domestic or foreign) that would be applicable in the

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 1   absence of the Plan and this Confirmation Order, and will thereafter cooperate to make all other

 2   filings and recordings that otherwise would be necessary under applicable law to give notice of such

 3   Liens and security interests to third parties.

 4          On the Effective Date, the Trust Assets shall vest in the Trust free and clear of any and all

 5   Liens, claims, encumbrances, contractual restrictions, and other interests. Such Trust Assets shall

 6   vest in the Trust without further execution of documents or other action by any nominee or other

 7   party with respect to such assets.

 8          H.      Appointment of Trustee and Creditor Trust Committee

 9          Jeffrey Prol shall be appointed Trustee of the Creditor Trust, and the following shall be

10   appointed to the Creditor Trust Committee:

11               1. Ping An Bank, Ltd. Beijing Branch;

12               2. China Minsheng Trust Co., Ltd.;

13               3. Shanghai Leyu Chuangye Investment Management Center LP;

14               4. Jiangyin Hailan Investment Holding Co., Ltd.; and

15               5. Shanghai Qichengyueming Investment Partnership Enterprise.

16          The Trustee and Creditor Trust Committee shall serve in accordance with the Trust

17   Agreement. The Trustee shall have those powers provided in the Trust Agreement, subject to the

18   approval of the Creditor Trust Committee, as applicable.

19          I.      Approval of the Creditor Trust Agreement

20          This Confirmation Order shall constitute (i) approval of the Creditor Trust Agreement

21   substantially in the form of the creditor trust agreement filed with the Plan Supplement, and all

22   transactions contemplated thereby, including any and all actions to be taken, undertakings to be

23   made, and obligations to be incurred, fees and expenses paid, and indemnities to be provided by the

24   Reorganized Debtor or the Creditor Trust, as applicable, in connection therewith, and (ii)

25   authorization for the Reorganized Debtor and Trustee to finalize, execute, deliver, and perform under

26   those documents necessary or appropriate to consummate the transactions contemplated by the

27   Creditor Trust Agreement, without further notice to or order of the Court, act, or action under

28   applicable law, regulation, order, or rule, or vote, consent, authorization, or approval of any Person.

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 1   Subject to the occurrence of the Effective Date, the Creditor Trust Agreement shall constitute the

 2   legal, valid, and binding obligations of the parties thereto and shall be enforceable in accordance

 3   with its terms.

 4            J.       Cancellation of Liens

 5            Except as provided otherwise in the Plan, on the Effective Date and concurrently with the

 6   applicable distributions made pursuant to the Plan, all Liens on assets located in the United States

 7   that secure any U.S. Secured Claim shall be fully released, settled, discharged, and compromised and

 8   all rights, titles, and interests of any holder of such mortgages, deeds of trust, Liens, pledges, or other

 9   security interests against any property of the Estate shall revert to the Reorganized Debtor and his

10   successors and assigns, and the holder of such U.S. Secured Claim shall be authorized and directed,

11   at the sole cost and expense of the Reorganized Debtor, to release any Collateral or other property of

12   the Debtor (including any cash collateral and possessory collateral) held by such holder, and to take

13   such actions as may be reasonably requested by the Reorganized Debtor to evidence the release of

14   such Lien, including the execution, delivery, and filing or recording of such releases. The filing of

15   the Confirmation Order with any federal, state, provincial, or local agency or department shall

16   constitute good and sufficient evidence of, but shall not be required to effect, the termination of such

17   Liens.

18            K.       Discharge of Claims and Compromise and Settlement of Claims

19            Subject to the occurrence of the Discharge Date as provided below, pursuant to section

20   1141(d) of the Bankruptcy Code, and except as otherwise specifically provided in the Plan, the

21   distributions, rights, and treatment that are provided in the Plan will be in exchange for, and in

22   complete satisfaction, settlement, discharge, and release of, all Claims against the Debtor of any

23   nature whatsoever, whether known or unknown, or against the assets or properties of the Debtor that

24   arose before the Effective Date. Except as expressly provided in the Plan, on the Discharge Date

25   (and subject to its occurrence), and pursuant to section 1141(d)(5)(A) of the Bankruptcy Code, entry

26   of the Confirmation Order shall be deemed to act as a discharge and release under section

27   1141(d)(1)(A) of the Bankruptcy Code of all Claims against the Debtor and his assets, arising at any

28   time before the Effective Date, regardless of whether a proof of Claim was filed, whether the Claim

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 1   is Allowed, or whether the holder of the Claim votes to accept the Plan or is entitled to receive a

 2   distribution under the Plan; provided, however, that in no event shall occurrence of the Discharge

 3   Date discharge the Debtor from any obligations remaining under the Plan as of the Discharge Date.

 4   Any default by the Debtor with respect to any Claim that existed immediately prior to or on account

 5   of the filing of the Chapter 11 Case shall be deemed cured on the Discharge Date.

 6          Except as expressly provided in the Plan, any holder of a discharged Claim will be precluded

 7   from asserting against the Debtor or any of his assets any other or further Claim based on any

 8   document, instrument, act, omission, transaction, or other activity of any kind or nature that occurred

 9   before the Effective Date.

10          The Discharge Date shall occur upon the entry of an order upon the Debtor establishing that:

11   (i) the preconditions to reaching an Effective Date have been satisfied as set forth in Plan Articles

12   10.1 and 10.2 (other than section 10.2(b)); (ii) all Trust Assets have been transferred to the Trust per

13   the Creditor Trust Agreement; and (iii) paragraphs (a), (b), and (c) of the Distribution Waterfall of

14   the Creditor Trust Agreement have been satisfied. The Reorganized Debtor shall file a motion for

15   such discharge with supporting declarations and provide notice thereof per LBR 9013-1.

16   Notwithstanding the foregoing, nothing contained in the Plan or the Confirmation Order shall

17   discharge the Debtor from any debt excepted from discharge under section 523 of the Bankruptcy

18   Code by a Final Order.

19          L.      Releases by the Debtor

20          Article 11.4(a) of the Plan is approved, which provides: Upon the Effective Date, for good

21   and valuable consideration, the adequacy of which is hereby confirmed, the Debtor, in his individual

22   capacity and as debtor in possession, shall be deemed forever to release, waive, and discharge (i) the

23   Estate; (ii) all Persons engaged or retained by the Debtor in connection with the Chapter 11 Case

24   (including in connection with the preparation of and analyses relating to the Disclosure Statement

25   and the Plan); and (iii) any and all advisors, attorneys, actuaries, financial advisors, accountants,

26   investment bankers, agents, professionals, consultants and representatives of each of the foregoing

27   Persons and Entities (whether current or former, in each case in his, her, or its capacity as such),

28   from any and all claims, obligations, suits, judgments, damages, demands, debts, rights, remedies,

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 1   actions, Causes of Action, and liabilities, whether for tort, fraud, contract, recharacterization,

 2   subordination, violations of federal or state securities laws (other than the rights of the Debtor or

 3   Reorganized Debtor to enforce the terms of the Plan and the contracts, instruments, releases, and

 4   other agreements or documents delivered in connection with the Plan), whether liquidated or

 5   unliquidated, fixed or contingent, matured or unmatured, known or unknown, foreseen or

 6   unforeseen, then-existing or thereafter arising, at law, in equity, or otherwise, based in whole or in

 7   part on any act, omission, transaction, event or other occurrence, or circumstances taking place on or

 8   before the Effective Date, in any way relating to (a) the Debtor or the Chapter 11 Case; (b) any

 9   action or omission of any Released Party with respect to any indebtedness under which the Debtor is

10   or was a borrower or guarantor; (c) any Released Party in any such Released Party’s capacity as an

11   employee, or agent of, or advisor to, or consultant to, the Debtor; (d) the subject matter of, or the

12   transactions or events giving rise to, any Claim that is treated in the Plan; (e) the business or

13   contractual arrangements between the Debtor and any Released Party; (f) the restructuring of Claims

14   before or during the Chapter 11 Case; and (g) the negotiation, formulation, preparation, or

15   dissemination of the Plan (including, for the avoidance of doubt, the Plan Supplement), the

16   Disclosure Statement, or related agreements, instruments, or other documents, other than claims or

17   liabilities arising out of or relating to any act or omission of a Released Party that is determined by a

18   Final Order to have constituted willful misconduct, fraud, or gross negligence. The Reorganized

19   Debtor shall be bound, to the same extent the Debtor is bound, by the releases and discharges set

20   forth above.

21          Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant

22   to Bankruptcy Rule 9019, of the releases described in Article 11.4(a) of the Plan by the Debtor,

23   which includes by reference each of the related provisions and definitions contained in the Plan, and

24   further, shall constitute its finding that each release described in Article 11.4(a) of the Plan is: (i) in

25   exchange for the good and valuable consideration provided by the Released Parties, a good faith

26   settlement and compromise of such claims; (ii) in the best interests of the Debtor and all holders of

27   Claims; (iii) fair, equitable, and reasonable; (iv) given and made after due notice and opportunity for

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 1   hearing; and (v) a bar to any of the Releasing Parties asserting any claim, Cause of Action, or

 2   liability related thereto, of any kind whatsoever, against any of the Released Parties or their property.

 3          M.      Releases by Holders of Claims

 4                  1.      Releases by Holders of Non-Debt Claims

 5          Article 11.4(b) of the Plan is approved, which provides: On the Effective Date, to the

 6   maximum extent permitted by applicable law, each Releasing Party, in consideration for the

 7   obligations of the Debtor and the Reorganized Debtor under the Plan, and the Trust Interests and

 8   Cash and other contracts, instruments, releases, agreements, or documents to be delivered in

 9   connection with the Plan, shall be deemed forever to release, waive, and discharge the Released

10   Parties from personal liability in every jurisdiction from any and all claims, obligations, suits,

11   judgments, damages, demands, debts, rights, remedies, actions, Causes of Action, and liabilities

12   whatsoever, including any derivative Claims asserted or assertable on behalf of the Debtor, whether

13   for tort, fraud, contract, recharacterization, subordination, violations of federal or state securities

14   laws or laws of any other jurisdiction or otherwise, whether liquidated or unliquidated, fixed or

15   contingent, matured or unmatured, known or unknown, foreseen or unforeseen, then-existing or

16   thereafter arising, at law, in equity, or otherwise, based in whole or in part on any act, omission,

17   transaction, event, or other occurrence, or circumstances taking place on or before the Effective

18   Date, in any way relating to (a) the Debtor or the Chapter 11 Case; (b) any action or omission of any

19   Released Party with respect to any indebtedness under which the Debtor is or was a borrower or

20   guarantor; (c) any Released Party in any such Released Party’s capacity as an employee, agent of, or

21   advisor to, or consultant to, the Debtor; (d) the subject matter of, or the transactions or events giving

22   rise to, any Claim that is treated in the Plan; (e) the business or contractual arrangements between the

23   Debtor and any Released Party; (f) the restructuring of Claims before or during the Chapter 11 Case

24   and the solicitation of votes with respect to the Plan; and (g) the negotiation, formulation,

25   preparation, entry into, or dissemination of the Plan (including, for the avoidance of doubt, the Plan

26   Supplement and all documents contained or referred to therein), the Disclosure Statement, or related

27   agreements, instruments, or other documents. Notwithstanding anything contained herein to the

28   contrary, the foregoing release (x) does not release any obligations of any party under the Plan or

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 1   any document, instrument, or agreement (including those set forth in the Plan Supplement) executed

 2   to implement the Plan or (y) shall only apply to holders of Non-Debt Claims in their capacity as a

 3   holder of a Non-Debt Claim and shall not apply to any other Claims such holder may have.

 4          In connection with the releases described in Article 11.4(b) of the Plan, each Releasing Party

 5   shall waive all rights conferred by the provisions of section 1542 of the California Civil Code and/or

 6   any similar state or federal law. Section 1542 of the California Civil Code provides as follows: “A

 7   GENERAL RELEASE DOES NOT EXTEND TO CLAIMS WHICH THE CREDITOR DOES

 8   NOT KNOW OR SUSPECT TO EXIST IN HIS OR HER FAVOR AT THE TIME OF

 9   EXECUTING THE RELEASE, WHICH IF KNOWN BY HIM OR HER MUST HAVE

10   MATERIALLY AFFECTED HIS OR HER SETTLEMENT WITH THE DEBTOR.”

11          Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant

12   to Bankruptcy Rule 9019, of the releases described in Article 11.4(b) of the Plan, which includes by

13   reference each of the related provisions and definitions contained in the Plan, and further, shall

14   constitute its finding that each release described in Article 11.4(b) of the Plan is: (a) in exchange for

15   the good and valuable consideration provided by the Released Parties, a good faith settlement and

16   compromise of such claims; (b) in the best interests of the Debtor and all holders of Claims; (c) fair,

17   equitable, and reasonable; (d) given and made after due notice and opportunity for hearing; and (e) a

18   bar to any of the Releasing Parties asserting any claim, Cause of Action, or liability related thereto,

19   of any kind whatsoever, against any of the Released Parties or their property.

20                  2.      Standstill and Releases by Holders of Allowed Debt Claims, Allowed
                            China Secured Claims, and Allowed Late Filed Debt Claims
21

22          Article 11.4(c) of the Plan is approved, which provides: To the maximum extent permitted
23   by applicable law, each holder of an Allowed Debt Claim or Allowed China Secured Claim shall
24   agree for a period of four years after the Effective Date (the “Standstill Period”) to not assert any
25   new Causes of Action (x) against the Debtor for personal liability directly or (y) derivatively in its
26   capacity as a creditor of a claim owed solely or jointly by the Debtor (including unwinding or alter
27   ego type claims), in any non-U.S. jurisdiction (collectively, the “YT Claims”); provided, however,
28   that such holder may continue to prosecute any actions commenced prepetition against the Debtor up
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 1   to judgment and pursue Other Distributions through judicial authorities in the PRC to satisfy such

 2   holder’s Debt Claim or China Secured Claim through a mechanism that will be mutually agreed to

 3   by the parties, including claims against primary obligors solely based on such holder’s contractual

 4   agreements with such primary obligors (for the avoidance of doubt, such holder may not bring

 5   unwinding or alter ego type claims against such primary obligors); provided further, however, that

 6   the Standstill Period shall terminate in the event a Liquidation Event occurs during the Standstill

 7   Period. All limitations periods applicable to all YT Claims in any non-U.S. jurisdictions, to the

 8   extent not previously expired, shall be tolled for the duration of the Standstill Period.

 9          Each holder of an Allowed Debt Claim, Allowed China Secured Claim, or Allowed Late

10   Filed Debt Claim shall, within ninety (90) days after the later to occur of (a) the Effective Date and

11   (b) the date such Debt Claim, China Secured Claim, or Late Filed Debt Claim becomes Allowed, (i)

12   take the steps and provide the documents described in the Trust Agreement to notify the applicable

13   court or courts in the PRC (the “Chinese Courts”) that (A) the Debtor and such holder and (B) if

14   applicable, the KCBI Claimant and the applicable Key China Business Individual have reached a

15   settlement agreement that is embodied in and has been implemented through the Plan and request

16   that the Chinese Courts remove the Debtor from the List of Dishonest Judgment Debtors (the “China

17   Debtor List”) and lift any consumption or travel restrictions (the “China Restrictions”), as

18   applicable, and (ii) refrain from taking any action during the Standstill Period to cause (A) the

19   Debtor or (B) if applicable, the Key China Business Individual to be reinstated on the China Debtor

20   List or be subject to the China Restrictions (the “China Debtor List Covenant”).

21          As a condition to receiving Plan Distributions (including Trust Distributions), each holder of

22   an Allowed Debt Claim (including the holder of an Allowed China Secured Claim treated as an

23   Allowed Debt Claim pursuant to Article 4.3 of the Plan), Allowed China Secured Claim, or Allowed

24   Late Filed Debt Claim shall provide the Compliance Certificate to the Trustee within ninety (90)

25   days after the date all or any portion of such Debt Claim, China Secured Claim, or Late Filed Debt

26   Claim becomes Allowed that certifies (a) such holder’s compliance with the China Debtor List

27   Covenant, (b) such holder’s compliance with the Standstill Period and that such holder has not

28   initiated, and will not initiate, any YT Claims during the Standstill Period, (c) if the Liability Release

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 1   Date has occurred, the release of the YT Claims, and (d) if applicable, such holder’s compliance

 2   with Article 6.6 of the Plan and the release of Wei Gan’s personal liability pursuant to the Wei Gan

 3   Settlement and withdrawal or dismissal of action as necessary to effect that release in accordance

 4   with Article 6.6 of the Plan. If the holder of an Allowed Debt Claim, Allowed China Secured Claim,

 5   or Allowed Late Filed Debt Claim fails to submit the Compliance Certificate, submits a Compliance

 6   Certificate containing falsified information, or breaches the Compliance Certificate, such holder

 7   shall forfeit its Plan Distributions (including any Trust Interests) and such Plan Distributions shall

 8   revert to the Trust for the ratable benefit of holders of Allowed Debt Claims and the Reorganized

 9   Debtor pursuant to the Distribution Trust Waterfall.

10          Subject to approval of the applicable KCBI Settlement, before any Trust Distributions are

11   made to an applicable KCBI Claimant, such claimant shall provide a Compliance Certificate that

12   certifies such claimant’s compliance with the China Debtor List Covenant with respect to the

13   applicable Key China Business Individual.

14          Upon the earlier of a holder of an Allowed Debt Claim (including the holder of an Allowed

15   China Secured Claim treated as an Allowed Debt Claim pursuant to Article 4.3 of the Plan)

16   receiving (a) Trust Distributions that, in the aggregate, are equal to 40% of its Debt Claim Allocation

17   Amount and (b) Trust Distributions and Other Distributions (from enforcement or other actions) that,

18   in the aggregate, are equal to 100% of its Debt Claim Allocation Amount (the date upon which the

19   foregoing condition occurs is the “Liability Release Date”), such holder (i) shall be deemed to have

20   released the YT Claims on account of such Debt Claim in every jurisdiction and (ii) agrees that it

21   shall not assert any new, or continue to prosecute any existing, YT Claims related to such Debt

22   Claim in every jurisdiction; provided, however, that the foregoing release shall not release, waive, or

23   otherwise impact the rights of such holder to receive further Trust Distributions or to pursue and

24   receive Other Distributions through a mechanism that will be mutually agreed to by the parties;

25   provided further, however, that if an Allowed China Secured Claim is satisfied in full prior to the

26   initial Trust Distribution Date, on the date thereof, the holder of such China Secured Claim (A) shall

27   be deemed to have released the YT Claims on account of such China Secured Claim in every

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 1   jurisdiction and (B) agrees that it shall not assert any new, or continue to prosecute any existing, YT

 2   Claims related to such China Secured Claim in every jurisdiction.

 3          Each holder of an Allowed Late Filed Debt Claim, on the date of allowance of such Late

 4   Filed Debt Claim (a) shall be deemed to have released the YT Claims on account of such Late Filed

 5   Debt Claim in every jurisdiction and (b) agrees that it shall not assert any new, or continue to

 6   prosecute any existing, YT Claims related to such Late Filed Debt Claim in every jurisdiction.

 7          Within ninety (90) days after the (a) applicable Liability Release Date with respect to

 8   Allowed Debt Claims (including Allowed China Secured Claims treated as Allowed Debt Claims

 9   pursuant to Article 4.3 of the Plan), (b) the date of satisfaction in full of an Allowed China Secured

10   Claim and, if applicable, the occurrence of the Liability Release Date with respect to any Deficiency

11   Claim on account of such Allowed China Secured Claim, or (c) the date of allowance of a Late Filed

12   Debt Claim, each holder of an Allowed Debt Claim, Allowed China Secured Claim, or Allowed Late

13   Filed Debt Claim shall (as a condition to receiving further Trust Distributions, including any Trust

14   Distributions upon the termination or dissolution of the Trust) (i) withdraw or retract any litigations,

15   enforcement actions, arbitrations, and any other proceedings against the Debtor from the courts and

16   judicial authorities in all jurisdictions, including, but not limited to, the Chinese Courts, or confirm

17   with the judicial authorities that the Debtor has settled all of his debt obligations or legal

18   responsibilities to such holder and (ii) file and execute any documents requested by the Debtor to

19   evidence the above release. The Debtor reserves all rights to seek enforcement by the Chinese

20   judicial authorities of the rights provided herein.

21          Subject to approval of the applicable KCBI Settlement, upon the Liability Release Date, each

22   applicable KCBI Claimant shall release the applicable Key China Business Individual of his or her

23   guaranty obligations on behalf of the Debtor.

24          In connection with the releases described in Article 11.4(c) of the Plan, each holder of an

25   Allowed Debt Claim, Allowed China Secured Claim, or Allowed Late Filed Debt Claim shall waive

26   all rights conferred by the provisions of section 1542 of the California Civil Code and/or any similar

27   state or federal law. Section 1542 of the California Civil Code provides as follows: “A GENERAL

28   RELEASE DOES NOT EXTEND TO CLAIMS WHICH THE CREDITOR DOES NOT KNOW

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 1   OR SUSPECT TO EXIST IN HIS OR HER FAVOR AT THE TIME OF EXECUTING THE

 2   RELEASE, WHICH IF KNOWN BY HIM OR HER MUST HAVE MATERIALLY AFFECTED

 3   HIS OR HER SETTLEMENT WITH THE DEBTOR.”

 4          Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant

 5   to Bankruptcy Rule 9019, of the releases described in Article 11.4(c) of the Plan, which includes by

 6   reference each of the related provisions and definitions contained in the Plan, and further, shall

 7   constitute its finding that each release described in Article 11.4(c) of the Plan is: (a) in exchange for

 8   the good and valuable consideration provided by the Debtor and Reorganized Debtor, a good faith

 9   settlement and compromise of such claims; (b) in the best interests of the Debtor and all holders of

10   Claims; (c) fair, equitable, and reasonable; (d) given and made after due notice and opportunity for

11   hearing; and (e) except as otherwise provided in the Plan, a bar to any holder of an Allowed Debt

12   Claim or Allowed Late Filed Debt Claim asserting any Claim, Cause of Action, or liability related

13   thereto, of any kind whatsoever, against the Debtor or Reorganized Debtor.

14          N.      Exculpation and Limitation of Liability

15          Article 11.5 of the Plan is approved, which provides: None of the Debtor or Reorganized

16   Debtor, or the direct or indirect affiliates, employees, advisors, attorneys, financial advisors,

17   accountants, investment bankers, agents, consultants, or other professionals (whether current or

18   former, in each case, in his, her, or its capacity as such) of the Debtor or the Reorganized Debtor, or

19   the Released Parties shall have or incur any liability to, or be subject to any right of action by, any

20   holder of a Claim, or any other party in interest in the Chapter 11 Case, or any of their respective

21   agents, employees, representatives, financial advisors, attorneys or agents acting in such capacity, or

22   direct or indirect affiliates, or any of their successors or assigns, for any act or omission in

23   connection with, relating to, or arising out of, the Chapter 11 Case, formulation, negotiation,

24   preparation, dissemination, confirmation, solicitation, implementation, or administration of the Plan,

25   the Plan Supplement and all documents contained or referred to therein, the Disclosure Statement,

26   any contract, instrument, release or other agreement or document created or entered into in

27   connection with the Plan, or any other pre- or postpetition act taken or omitted to be taken in

28   connection with or in contemplation of the restructuring of the Debtor or confirming or

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 1   consummating the Plan (including the distribution of any property under the Plan); provided,

 2   however, that the foregoing provisions of Article 11.5 of the Plan shall have no effect on the liability

 3   of any Person or Entity that results from any such act or omission that is determined by a Final Order

 4   to have constituted willful misconduct, fraud, or gross negligence and shall not impact the right of

 5   any holder of a Claim, or any other party to enforce the terms of the Plan and the contracts,

 6   instruments, releases, and other agreements or documents delivered in connection with the Plan.

 7   Without limiting the generality of the foregoing, the Debtor and the Debtor’s direct or indirect

 8   affiliates, employees, advisors, attorneys, financial advisors, accountants, investment bankers,

 9   agents, consultants, and other professionals (whether current or former, in each case, in his, her, or

10   its capacity as such) shall, in all respects, be entitled to reasonably rely upon the advice of counsel

11   with respect to their duties and responsibilities under the Plan.        The exculpated parties have

12   participated in good faith and in compliance with the applicable provisions of the Bankruptcy Code

13   with regard to the solicitation and distribution of the securities pursuant to the Plan, and, therefore,

14   are not, and on account of such distributions shall not be, liable at any time for the violation of any

15   applicable law, rule, or regulation governing the solicitation of acceptances or rejections of the Plan

16   or such distributions made pursuant to the Plan. This exculpation shall be in addition to, and not in

17   limitation of, all other releases, indemnities, exculpations, and any other applicable law or rules

18   protecting such exculpating parties from liability.

19          O.      Waiver of Actions Arising Under Chapter 5 of the Bankruptcy Code

20          Article 11.9 of the Plan is approved, which provides: Without limiting any other applicable

21   provisions of, or releases contained in, the Plan, each of the Debtor, the Reorganized Debtor, their

22   respective successors, assigns, and representatives, and any and all other entities who may purport to

23   assert any claim or Cause of Action, directly or derivatively, by, through, for, or because of the

24   foregoing entities, hereby irrevocably and unconditionally release, waive, and discharge any and all

25   claims or Causes of Action that they have, had, or may have that are based on section 544, 547, 548,

26   549, and 550 of the Bankruptcy Code and analogous non-bankruptcy law for all purposes; provided,

27   however, that notwithstanding this or any other provision of the Plan, in the event the Trustee (with

28   the approval of the Creditor Trust Committee as set forth in the Trust Agreement) determines that it

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 1   has reasonable and good-faith evidence that (i) an asset, other than any of the Seized China Assets or

 2   assets subject to seizure in China, was property of the Debtor as of the Petition Date but was not

 3   disclosed by a document or testimony in his capacity as a chapter 11 debtor during the Chapter 11

 4   Case, including, without limitation, in any disclosure statement, schedules, statements of financial

 5   affairs, section 341 meeting of creditors, confidential depositions, and materials posted in the

 6   creditor data room (the “Chapter 11 Disclosures”), provided that the Declarations shall supersede the

 7   Chapter 11 Disclosures, the Trustee may pursue an action for turnover of such asset under section

 8   542 of the Bankruptcy Code through the Plan Arbitration Procedures; or (ii) the Debtor was the

 9   transferor of a transfer avoidable pursuant to section 548(a)(1)(A) of the Bankruptcy Code, the

10   Trustee may pursue an action to avoid and recover such transfer pursuant to sections 548(a)(1)(A)

11   and 550 of the Bankruptcy Code, as applicable, through the Plan Arbitration Procedures, provided

12   that such transfer did not arise out of any transaction or occurrence disclosed in the Chapter 11

13   Disclosures, provided further that the Declarations shall supersede the Chapter 11 Disclosures

14   (collectively, (i) and (ii) are the “Bankruptcy Actions”).

15          P.      Injunction Against Interference with the Plan

16          Article 11.6(b) of the Plan is approved, which provides: Upon entry of the Confirmation

17   Order, all holders of Claims and their respective current and former employees, agents, officers,

18   directors, principals, and direct and indirect affiliates shall be enjoined from taking any actions to

19   interfere with the implementation or consummation of the Plan. Each holder of an Allowed Claim,

20   by accepting, or being eligible to accept, distributions under or reinstatement of such Claim, as

21   applicable, pursuant to the Plan, shall be deemed to have consented to the injunction provisions set

22   forth in Article 11.6 of the Plan.

23          Q.      Approval of Wei Gan Settlement

24          Article 6.6 of the Plan is approved, which provides: Pursuant to Bankruptcy Rule 9019, the

25   Debtor, Wei Gan, and the Committee have settled all Claims of the Debtor’s wife, Wei Gan, against

26   the Debtor and all of the Debtor’s claims against Wei Gan (the “Wei Gan Settlement”); provided,

27   however, that pursuant to the divorce proceeding pending in the People’s Court of Chaoyang

28   District, Beijing, China Wei Gan and the Debtor’s three minor children may be awarded child

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 1   support (the “Wei Gan Domestic Support Obligations”), which obligations shall be satisfied in

 2   accordance with Article 2.4 of the Plan. In exchange for, and subject to (i) a Cash contribution from

 3   Wei Gan in the amount of $1,000,000 to the Trust on the Effective Date, which shall constitute Trust

 4   Assets (the “Effective Date Wei Gan Payment”), (ii) a Cash payment of $250,000 to the Trust no

 5   later than ninety (90) days after the Effective Date (the “Second Wei Gan Payment”), (iii) Wei Gan’s

 6   agreement not to assert any other prepetition or postpetition Claims against the Debtor (excluding

 7   the Wei Gan Domestic Support Obligations) or the Trust, and (iv) execution of the Wei Gan

 8   Declaration, the following shall occur:

 9                  (i)     Upon the Effective Date Wei Gan Payment, (a) the China Debtor Covenant

10   shall apply to Wei Gan; and (b) Wei Gan’s alleged Debt Claim against the Debtor [Claim No.

11   20004] shall be treated as an Allowed Debt Claim in the amount of $250,000,000.

12                  (ii)    Upon the Second Wei Gan Payment, (the date upon which the foregoing

13   condition occurs is the “Wei Gan Liability Release Date”), each holder of an (a) Allowed Late Filed

14   Debt Claim, on the date of allowance of such Late Filed Debt Claim or (b) Allowed Debt Claim (i)

15   shall (as a condition to receiving further Trust Distributions, including any Trust Distributions upon

16   the termination or dissolution of the Trust) release any Causes of Action against Wei Gan for

17   personal liability or derivatively in its capacity as a creditor of a claim owed solely or jointly by Wei

18   Gan (including unwinding or alter ego type claims) in any jurisdiction (the “Wei Gan Claims”) on

19   account of such Debt Claim or Late Filed Debt Claim to the maximum extent permitted by

20   applicable law, (ii) agrees that it shall not assert any new, or continue to prosecute any existing, Wei

21   Gan Claims related to such Debt Claim or Late Filed Debt Claim in every jurisdiction, and

22   (iii) submit a Compliance Certificate within ninety (90) days of any holder having an Allowed Claim

23   certifying her release according to the Plan. For the avoidance of doubt, the holder of an Allowed

24   Claim who submits a Compliance Certificate will release the Wei Gan Claims and will be subject to

25   the discharge of all Claims against the Debtor that holders of Claims may seek to assert against Wei

26   Gan, pursuant to sections 1141 and 524 of the Bankruptcy Code. Holders of Allowed Claims who

27   do not submit a Compliance Certificate will not be entitled to Trust Distributions and will only be

28   subject to discharge pursuant to sections 1141 and 524 of the Bankruptcy Code.

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 1          Within ninety (90) days after the Wei Gan Liability Release Date with respect to an Allowed

 2   Debt Claim or the date of allowance of an Allowed Late Filed Debt Claim, each holder of an

 3   Allowed Debt Claim or Allowed Late Filed Debt Claim shall (as a condition to receiving further

 4   Trust Distributions, including any Trust Distributions upon the termination or dissolution of the

 5   Trust) (i) withdraw or retract any litigations, enforcement actions, arbitrations, and any other

 6   proceedings against Wei Gan from the courts and judicial authorities in all jurisdictions, including,

 7   but not limited to, the Chinese Courts, or confirm with the judicial authorities that Wei Gan has

 8   settled all of her debt obligations or legal responsibilities to such holder and (ii) file and execute any

 9   documents requested by Wei Gan to evidence the above release. Wei Gan reserves all rights to seek

10   enforcement by the Chinese judicial authorities of the rights provided herein.

11          In connection with the releases described in Article 6.6 of the Plan, each holder of an

12   Allowed Debt Claim and/or Allowed Late Filed Debt Claim shall waive all rights conferred by

13   the provisions of section 1542 of the California Civil Code and/or any similar state or federal

14   law. Section 1542 of the California Civil Code provides as follows: “A GENERAL RELEASE

15   DOES NOT EXTEND TO CLAIMS WHICH THE CREDITOR DOES NOT KNOW OR

16   SUSPECT TO EXIST IN HIS OR HER FAVOR AT THE TIME OF EXECUTING THE

17   RELEASE, WHICH IF KNOWN BY HIM OR HER MUST HAVE MATERIALLY

18   AFFECTED HIS OR HER SETTLEMENT WITH THE DEBTOR.”

19          Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval,

20   pursuant to Bankruptcy Rule 9019, of the releases described in Article 6.6, which includes by

21   reference each of the related provisions and definitions contained in the Plan, and further,

22   shall constitute its finding that each release described in Article 6.6 is: (i) in exchange for the

23   good and valuable consideration provided by Wei Gan, a good faith settlement and

24   compromise of such claims; (ii) in the best interests of the Debtor and all holders of Claims;

25   (iii) fair, equitable, and reasonable; (iv) given and made after due notice and opportunity for

26   hearing; and (v) except as otherwise provided in the Plan, a bar to any holder of an Allowed

27   Debt Claim or Allowed Late Filed Debt Claim asserting any Claim, Cause of Action, or

28   liability related thereto, of any kind whatsoever, against Wei Gan.

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 1          R.      Assumption of Contracts and Leases

 2          As of and subject to the occurrence of the Effective Date and the payment of any applicable

 3   Cure Amount, all executory contracts and unexpired leases of the Debtor listed on Schedule B to the

 4   Plan (including any supplement to Schedule B included in the Plan Supplement) shall be deemed

 5   assumed except that: (i) any executory contracts and unexpired leases that previously have been

 6   assumed or rejected pursuant to a Final Order of the Bankruptcy Court shall be treated as provided in

 7   such Final Order; (ii) any executory contracts and unexpired leases listed on the Schedule of

 8   Rejected Contracts and Leases, shall be deemed rejected as of the Effective Date; and (iii) all

 9   executory contracts and unexpired leases that are the subject of a separate motion to assume or reject

10   under section 365 of the Bankruptcy Code pending on the Effective Date shall be treated as provided

11   for in the Final Order resolving such motion. Unless otherwise agreed by the Debtor, any party to an

12   Assumed Contract that did not timely file an objection to the cure amount set forth in the Cure

13   Schedule is deemed to have consented to such cure amount (the “Accepted Cure Amount”) and

14   waived any and all rights to challenge the Accepted Cure Amount and the assumption of the

15   Assumed Contract.

16          Unless otherwise provided in the Plan, each executory contract and unexpired lease that is

17   assumed shall include all modifications, amendments, supplements, restatements, or other

18   agreements that in any manner affect such executory contract or unexpired lease, including all

19   easements, licenses, permits, rights, privileges, immunities, options, rights of first refusal, and any

20   other interests, unless any of the foregoing agreements has been previously terminated or is

21   otherwise not in effect. Modifications, amendments, supplements, and restatements to prepetition

22   executory contracts or unexpired leases that have been executed by the Reorganized Debtor during

23   the Chapter 11 Case shall not be deemed to alter the prepetition nature of the executory contract or

24   unexpired lease.

25          S.      Authorization to Consummate

26          The Debtor is authorized to consummate the Plan at any time after the entry of this

27   Confirmation Order subject to the satisfaction or waiver (with the consent of the applicable parties

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 1   and in accordance with Article 10.3 of the Plan) of the conditions precedent to the Effective Date set

 2   forth in Article 10.2 of the Plan, other than as set forth in section 10.2(b).

 3            T.      No Special Charges Due, Notice of Effective Date and Post-Confirmation
                      Requirements
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 5                    1.      No Special Charges Due

 6            Pursuant to LBR 3020-1(a), as set forth in the Notice to Pay Court Costs Due [Docket No.

 7   782], no special charges are due to the Clerk’s Office.

 8                    2.      Notice of Effective Date

 9            As required by the Post-Confirmation Hearing Order, the Debtor shall file and cause to be

10   served on all creditors a Notice of Effective Date upon the occurrence of the Effective Date. The

11   Notice of Effective Date shall provide notice of the Administrative Claims Bar Date, the date for

12   Professionals to file final fee applications, and the bar date for Claims arising from the rejection of

13   Executory Contracts.

14                    3.      Post-Confirmation Requirements

15            No later than October 1, 2020, the Reorganized Debtor shall file a status report in accordance

16   with LBR 3020-1(b) explaining what progress has been made toward consummation of the

17   confirmed plan of reorganization. The status report shall be served on the United States Trustee, the

18   20 largest unsecured creditors, and those parties who have requested special notice, and contain the

19   information required by the Court’s “Instructions for Filing First Status Report Regarding

20   Consummation of Confirmed Plan.”3 Further reports shall be filed as ordered by the court. A post-

21   confirmation status conference will be held on October 29, 2020, at 9:30 a.m.

22            U.      Retention of Jurisdiction

23            Notwithstanding the entry of this Confirmation Order and the occurrence of the Effective

24   Date, except to the extent set forth in Articles 6.2 and 11.9 of the Plan with respect to matters subject

25   to the Plan Arbitration Procedures, the Bankruptcy Court shall retain exclusive jurisdiction over all

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28       https://www.cacb.uscourts.gov/sites/cacb/files/documents/judges/instructions/VZ_STATUSREPORTPLAN.pdf

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 1   matters arising out of, or related to, the Chapter 11 Case and the Plan pursuant to sections 105(a) and

 2   1142 of the Bankruptcy Code, including those matters set forth in Article XII of the Plan.

 3          V.      Dissolution of Committee

 4          Article 13.5 of the Plan is approved, which provides: On the Effective Date, any statutory

 5   committee(s) appointed in the Chapter 11 Case, including the Committee, shall dissolve, and the

 6   members thereof shall be released and discharged from all rights and duties arising from, or related

 7   to, the Chapter 11 Case. The Reorganized Debtor shall not be responsible for paying any fees and

 8   expenses incurred after the Effective Date, if any, by the Professionals retained by any such

 9   committee, other than for the reasonable fees and expenses for the services authorized to be provided

10   pursuant to Article 13.5 of the Plan.

11          W.      Shan Objection Resolution

12          As set forth in the record of the Confirmation Hearing, the Shan Objection was withdrawn in

13   exchange for the Debtor’s agreement to include the following resolution in this Order: Consistent

14   with the Debtor’s fiduciary responsibilities to his creditors, the Debtor agrees that, prior to the

15   Effective Date, Ms. Liuhuan Shan’s Claims shall be subject to review and objection by any party in

16   interest (as contemplated by the Bankruptcy Code), but not including the Debtor, and, after the

17   Effective Date, notwithstanding section 8.1 of the Plan, the right to object to Ms. Shan’s Claims shall

18   vest exclusively with the Trust, and not the Debtor or Reorganized Debtor, for a period of 180 days

19   after the Effective Date, as set forth in section 8.1 of the Plan, as may be extended from time to time

20   by further order of the Bankruptcy Court.

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 1          X.      Final Order

 2          This Confirmation Order is a Final Order and the period in which an appeal or any motion

 3   seeking to stay or alter the effectiveness hereof must be filed shall commence upon entry hereof.

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                                        PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                           10100 Santa Monica Boulevard, 13th Floor, Los Angeles, CA 90067


A true and correct copy of the foregoing document entitled: NOTICE OF LODGMENT OF ORDER IN BANKRUPTCY
CASE will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and
(b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
May 28, 2020, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:



                                                                                           Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On (date) May 28, 2020, I served the following persons and/or entities at the
last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

The Honorable Vincent P. Zurzolo
U.S. Bankruptcy Court
255 E. Temple Street, Suite 1360 / Courtroom 1368
Los Angeles, CA 90012



                                                                                           Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _________, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                           Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 May 28, 2020                 Nancy H. Brown                                                   /s/ Nancy H. Brown
 Date                         Printed Name                                                     Signature




        This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
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SERVICE INFORMATION FOR CASE NO. 2:19-bk-24804-VZ

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF)


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